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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                       :

       v.                                      :            NO. 20-CR-210

MICHAEL "OZZIE" MYERS"                         :


                         GOVERNMENT’S TRIAL MEMORANDUM

       The United States of America, by its attorneys, Jennifer Arbittier Williams, United States

Attorney for the Eastern District of Pennsylvania, and Eric L. Gibson and Richard P. Barrett,

Assistant United States Attorneys for the District, respectfully submits this memorandum to

address anticipated evidentiary issues at trial.

I.     INTRODUCTION

       The facts that the government expects to prove at trial are set forth in detail in the

Superseding Indictment and in the government’s responses to the motions to dismiss

counts in the Superseding Indictment. The government expects the evidence at trial to

prove beyond a reasonable doubt that the defendant Michael “Ozzie” Myers organized

and directed years’ long ballot stuffing schemes in south Philadelphia’s 39th Ward, 36th

Division and the 39th Ward, 2nd Division.

II.    FACTUAL BACKGROUND

       Myers, a former member of the U.S. House of Representatives from

Pennsylvania’s First District, hired himself out as a “political consultant.” As a

“consultant,” Myers held himself out as an effective and successful political operative


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capable of ensuring his clients’ electoral success. Myers’ criminal efforts were

generally, although not exclusively, directed at securing election victories for local

judicial candidates running for Philadelphia’s Court of Common Pleas or Municipal

Court who had employed Myers as a “political consultant.” Myers also exercised

influence and control in Philadelphia’s 39th Ward by distributing cash payments to

various election officials and supporting family, friends, and allies for elective office in

the 39th Ward. Myers installed Ward Leaders, Judges of Elections, and Democratic

State Committee Persons in south Philadelphia Wards.

       With respect to the relevant elections, the following positions constituted the Election

Board in each of Philadelphia’s polling stations:

           • Judge of Election. The Judge of Elections is elected to office or appointed by
           Court of Common Pleas. The Judge of Election is responsible for overseeing the
           entire election process and voter activities for his or her Division. Each Judge is
           charged with conducting the Division’s polling place in accordance with Federal and
           State election laws. If the duly elected or appointed Judge of Election fails to appear
           at the polling station by 7:00 a.m. on Election Day, the Majority Inspector appoints a
           Judge of Election.

           • Majority Inspector. The Majority Inspector is elected to office or appointed by
           Court of Common Pleas. If the duly elected or appointed Majority Inspector fails to
           appear at the polling station by 7:00 a.m. on Election Day, the Judge of Election
           appoints a Majority Inspector.

           • Minority Inspector. The Minority Inspector is elected to office or appointed by
           Court of Common Pleas. If the duly elected or appointed Minority Inspector fails to
           appear at the polling station by 7:00 a.m. on Election Day, the defeated candidate for
           Judge at the last election in which officers were voted upon shall serve, if available.
           In actual practice, Domenick DeMuro would enlist a family member to serve as the
           Minority Inspector in the 39th Ward, 36th Division.

           • Clerk. The Clerk is appointed by Minority Inspector



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           • Machine Inspector. The Machine Inspector is appointed by Philadelphia’s City
           Commissioners.

       The Majority Inspector, Minority Inspector, and Clerk assist the Judge of Election in

overseeing the election process at a particular polling place. They receive assignments from the

Judge of Election and help enforce voting regulations and procedures. The Machine Inspector

sets up the voting machines and instructs voters in the use of the voting system.

       The members of the Board of Elections are paid by the City of Philadelphia per election.

Each member of the Board of Elections is charged with overseeing the Division’s polling place

in accordance with Federal and State election laws. The Board members are supposed to attend

Election Board Training conducted by the Philadelphia City Commissioners. They are also

compensated a modest sum for attending the training.

                                   VOTING PROCEDURES

                           Overview of Procedures On Election Day

       At all times relevant to the Superseding Indictment, the procedures to be followed by the

members of the Board of Elections on Election Day were as follows:

               1.     Meet all Election Board Officials at the polling place between 6:00 AM
                      and 6:30 AM. If all members are not present, contact the missing Officials
                      immediately.

               2.     Once assembled, all Election Board Officials must be sworn in by the
                      Judge. The Judge is sworn in FIRST by the Minority Inspector. The
                      printed Oath of Office is inside the Election Materials Box. Immediately
                      after being sworn in, all Election Board members sign the Oath of Office.

               3.     Prepare the polling place for 7:00 AM opening.

               4.     Appoint Election Board Officials to specific duties.

               5.     Open the polling place at 7:00 AM.


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               6.      Throughout Election Day:

                       a.      Enforce voting regulations and procedures.
                       b.      Assign relief periods for the Board Members and fill vacancies as
                               required.

               7.      Close the polling place at 8:00 PM.

       Each polling station, including the 36th and 2nd Divisions of the 39th Ward maintained a

polling book that documents the name, party affiliation, and order of appearance of each voter

who appears at the polling station to cast his or her ballot in the election. The polling books are

maintained as official records by the Philadelphia City Commissioners.

       The Voting Machines at each polling station generated records in the form of a printed

receipt (“Results Receipt”) documenting the use of the Voting Machine which contain: a.) the

Opening Zero Count; b.) the Election board Officials’ Opening Certification signatures; c.) any

Write-in Votes, and d.) Vote Totals. Among the Vote Totals is a category called “Public

Count.” This category reflects the number of ballots cast in the machine and corresponds or

should correspond with the number of voters who physically appeared at the polls. For

example, a ballot could contain a variety of elective offices and the voter would cast a vote for

specific offices on a single ballot. If 158 voters appeared at the polling station to vote, and the

polling station had a single machine at its disposal, the Public Count on the machine receipt

should be “158.” The number recorded as the “Public Count” by the machine should

correspond directly with the number of voters signing the poll book at the polling station on

Election Day. In this example, if 158 voters are documented in the Results Receipt on the

machine, 158 voters should sign the poll book. The Judge of Elections and the Election Board




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Officials at each polling place are required to attest to the accuracy of machine results by affixing

their signatures to the last page of the Results Receipt.

       After the polls close, the Results Receipt from the Voting Machine, which documents the

ballots cast in an election, is placed in a vinyl cartridge-Results Bag, generally for pickup by a

Philadelphia Police Officer after the close of the polls. At the end of Election Day, the

Cartridge-Results Bag contains a.) paper Results Receipt; b.) the memory cartridge from each

Voting Machine; and, c.) Absentee Voter Lists. These official election records are transported

to the office of the Philadelphia City Commissioners at Riverview Place, Delaware Avenue and

Spring Garden Streets in Philadelphia or one of various tabulation centers maintained by the City

Commissioners in locations throughout the city.

       At trial, the evidence will largely consists of: 1) the poll books for the 39th Ward, 36th

Division; 2) the machine Results Receipts for the two voting machines in use at the 39th Ward,

36th Division; 3) the accounts of the DeMuros; 4) toll records for Myers’ cellular telephone; 5)

Campaign Finance Reports (CFRs) for Myers’ candidates; and 5) recordings made by Domenick

DeMuro of his conversations with Myers heading into the 2016 general election and the 2017

election cycle.

       When confronted by the FBI at his home on October 19, 2016, DeMuro admitted to

adding fraudulent ballots and votes to the voting machine totals in each election cycle since at

least 2011. Similarly, DeMuro’s spouse confessed to adding 10 – 12 ballots for the three

previous election cycles.




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                                   Myers’ Consulting Business

       The evidence at trial is expected to demonstrate that Myers regularly solicited monetary

payments as consulting fees from candidates for elective office. A significant portion of his

clients were candidates for judgeships in Philadelphia’s Court of Common Pleas or Municipal

Court. The judicial elections were often decided by a handful of votes recorded for the winning

candidate on Election Day. Moreover, the ultimate outcomes of the judicial races were almost

always determined on Primary Election Day in the Spring since the Democratic Party enjoyed a

nearly 5-1 registration advantage over the Republican Party in Philadelphia. Thus, the winners

of the Democratic primary who advanced to the general election had a virtual lock on winning

office. The evidence will show that the payments from the candidates to Myers took the form of

cash or checks, sometimes blank checks signed purportedly by a representative of the candidates’

campaigns.

       In the 39th Ward, after receiving the money, Myers would then take portions of these

funds and make payments to Election Board Officials, including defendant Domenick DeMuro

in the 39th Ward, 36th Division. These payments from Myers could take the form of checks or,

more frequently, cash. In return, DeMuro and other Election Board officials tampered with the

election results in support of Myers’ clients.

       In the 39th Ward, Myers would also provide DeMuro with cash to distribute to Election

Officials in other Divisions of the 39th Ward, including the 25th, 41st, and 44th Divisions.

DeMuro will testify that after he received payments from Myers ranging from between $300 to

$5,000 per election, he would “ring up” votes for Myers’ preferred candidates by fraudulently

and surreptitiously manipulating the vote totals on the Voting Machines in the 39th Ward, 36th


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Division. This increased the number of votes recorded for Myers’ clients, thereby diluting and

distorting the ballots cast by actual voters.

         In the run up to Election Day, Myers would relay instructions to his associates, including

DeMuro and Marie Beren, via cellular telephones capable of interstate transmissions regarding

which candidates DeMuro should "ring up" or add fraudulent votes for during Election Day in

the 39th Ward.

                                            39th Ward, 36th Division

         After the polls closed on Election Day, DeMuro was required to certify the Voting

Machine results from the 39th Ward, 36th Division, by attesting to the accuracy of the paper

results receipt placed in the Cartridge-Results Bag with the memory cartridge from each Voting

Machine for delivery to the City Commissioners. On some occasions, he and his Board certified

the results while on others they appear to have turned in the machine receipts without the

required signatures. In any event, DeMuro’s attestations were false and the Machine Receipts

reflected the false vote totals because they included the fraudulently added votes cast by DeMuro

and his family members.

                                                  2014 Primary 1

         On May 20, 2014, DeMuro and/or his family added 27 fraudulent ballots during the

primary election in the 39th Ward, 36th Division, on behalf of Myers’ preferred candidates

running for judicial office in the First Judicial District of Pennsylvania. In other words,

according to the numbers documented in the machine results, 118 voters exercised the franchise

on Primary Election Day. The Results Receipts from the voting machines document 118 ballots


1 The ballot for this primary election included candidates for a federal elected office.

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cast during the primary election in the 39th Ward, 36th Division, even though only 91 voters

physically appeared at the polling station to cast ballots. Those 91 voters who actually appeared

had to sign the polling book.

         After the polls closed, DeMuro turned in to the office of the Philadelphia City

Commissioners the Results Receipts from voting Machine # 021873 and Machine # 021874

documenting 118 ballots cast during the primary election in the 39th Ward, 36th Division, even

though only 91 voters physically appeared at the polling station to cast ballots as reflected in the

polling book.

                                                 2015 Primary 2

         DeMuro is expected to testify that in May of 2015, Myers gave him approximately $1000

in cash in exchange for defendant DeMuro adding fraudulent votes during the primary election in

the 39th Ward, 36th Division, on behalf of Judicial Candidate # 1 who was running for Judge of

the Court of Common Pleas in the First Judicial District of Pennsylvania. Judicial Candidate #

1’s CFRs for the relevant time show that the campaign made three payments to Myers in the

amounts of $5,000, $5,000, and $10,000 in May of 2015. 3

         DeMuro is expected to testify that in May of 2015, defendant Myers also gave him

approximately $500 in exchange for DeMuro adding fraudulent votes during the primary election

in the 39th Ward 36th Division on behalf of Judicial Candidate # 2, 4 also running for Judge of the

Court of Common Pleas in the First Judicial District of Pennsylvania.


2 The ballot for this primary election did not include a candidate for federal elective office.
3 Judicial Candidate # 1 is expected to acknowledge at trial that Myers was paid as a consultant during the
campaign, but will testify that Myers did not disclose anything to the candidate about fraudulent voting. Judicial
Candidate # 1 won a seat on the Court of Common Pleas.
4 Judicial Candidate # 2 is expected to testify that the candidate did not recall giving Myers money during the
campaign. Despite the efforts of Myers and DeMuro, Judicial Candidate # 2 did not prevail in the 2015 election

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         DeMuro is further expected to testify that in May of 2015, defendant Myers gave him

approximately $1000 in exchange for DeMuro adding fraudulent votes during the primary

election in the 39th Ward, 36th Division, on behalf of Judicial Candidate # 3 running for Judge of

the Court of Common Pleas in the First Judicial District of Pennsylvania. Judicial Candidate #

3’s CFRs for the relevant time show that the candidate’s campaign made two payments to Myers,

both for $5,000, during the 2015 election cycle. 5

         During this election cycle, however, DeMuro will testify that Myers was pushing

additional candidates, including candidates for mayor of Philadelphia and justice of the

Pennsylvania Supreme Court. 6 According to DeMuro, Myers made it clear that DeMuro was to

ensure Myers’ preferred candidates for mayor and state supreme court justice won (and both

did). In total, DeMuro received approximately $6,500 from Myers for the 2015 primary which

was the most money Myers ever paid DeMuro to “ring up” votes. Neither the mayoral

candidate nor the candidate for state supreme court reported hiring Myers as a consultant.

         On May 19, 2015, DeMuro and/or his family added 40 fraudulent ballots during the

primary election in the 39th Ward, 36th Division, on behalf of Myers’ preferred candidates

running for judicial office in the First Judicial District of Pennsylvania.

         Toll records for Myers’ cellular telephone will be introduced to show that on Primary

Election Day 2015, Myers called DeMuro fourteen times, including immediately before the polls




cycle. Judicial Candidate # 2 ran again in 2017, and is now on the Municipal Court bench.
5 If Judicial Candidate # 3 testifies at trial, the former candidate is expected to acknowledge that the campaign paid
Myers during the race, but will testify that Myers did not disclose anything to the candidate about fraudulent voting.
Judicial Candidate # 3 won, and is now a judge on the Court of Common Pleas.
6 The candidate for Pennsylvania Supreme Court was related to a Philadelphia labor leader. The union led by the
candidate’s family member hired defendant Myers as a political consultant.

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opened and shortly after the polls closed. The pair spoke for approximately 49 minutes over the

course of those 14 calls. According to DeMuro, they discussed Myers’ clients and the election.

         After the polls closed, DeMuro and his Election Board turned in to the office of the

Philadelphia City Commissioners the Results Receipts from voting Machine # 021873 and

Machine # 021874. The Results Receipts from the machines documented 259 ballots cast

during the primary election in the 39th Ward, 36th Division, even though only 219 voters

physically appeared at the polling station to cast ballots, as reflected in the polling book.

                                                  2016 Primary 7

         The evidence at trial is expected to show that defendant Myers received payments from a

local union’s super PAC, the Committee on Political Education (“COPE”). COPE reported

$40,000 in payments to Myers during 2016. According to DeMuro, the union in 2016 was

supporting the incumbent for the U.S. House of Representatives for Pennsylvania’s First

Congressional District, a candidate for Pennsylvania Attorney General and a candidate for

Pennsylvania State Senate for the First District. DeMuro is expected to testify that these are the

candidates which DeMuro received payments from Myers to “ring up votes” on the 2016

primary ballot. On April 26, 2016, DeMuro and/or his family added 46 fraudulent ballots

during the primary election in the 39th Ward, 36th Division, on behalf of Myers’ preferred

candidates.

         After the polls closed, DeMuro and his Election Board turned in to the office of the

Philadelphia City Commissioners the Results Receipts from voting Machine # 021873 and

Machine # 021874. The Results Receipts documented 266 ballots cast during the primary


7 The ballot for this primary election included various candidates for federal office.

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election in the 39th Ward, 36th Division, even though only 220 voters physically appeared at the

polling station to cast ballots as reflected in the polling book.

                                      39th Ward, 2nd Division

       Defendant Myers also conspired with Marie Beren, formerly the Judge of Elections for

the 39th Ward, 2nd Division, to deprive persons of civil rights, falsification of records, voting

more than once in federal elections, and conspiring to do so, by scheming from at least 2015

through May of 2019 to fraudulently and surreptitiously manipulate the vote totals on the Voting

Machines in Philadelphia’s 39th Ward, 2nd Division, to increase the number of votes recorded for

certain candidates, thereby diluting and distorting the ballots cast by actual voters.

       The evidence at trial is expected to show that in approximately 1988, defendant Myers

recruited Marie Beren to serve as a Judge of Elections for Philadelphia’s 39th Ward, 2nd Division.

Approximately four years prior, Myers had recruited and installed Beren as a Committee Person

for the Democratic Party in the 39th Ward in the City of Philadelphia.

       Records and witness accounts at trial will establish that Marie Beren formally served as

the Judge of Elections for Philadelphia’s 39th Ward, 2nd Division from 1988 through 2015.

Beginning in approximately 2010, the polling location for the 39th Ward, 2nd Division moved to

the Seafarer’s Union Hall located at 4th and Shunk Streets in Philadelphia, Pennsylvania. The

Seafarer’s Union Hall was also the polling location for the 39th Ward, 11th Division and the 39th

Ward, 16th Division. The evidence at trial is expected to show that Beren became the de facto

Judge of Elections for all three divisions. Beren is expected to testify that the move to the

Seafarer’s Union Hall diminished turnout in her division because the voters were reluctant to




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walk through the neighborhood in which it was located in order to vote. This resulted in some

increased pressure to produce votes in the 39th Ward, 2nd Division.

       Following the 2015 Primary Election, Marie Beren appeared to “step down” from her

formal role as Judge of Elections for the 39th Ward, 2nd Division. Beren, who also worked in

constituent services for a city councilman at the time, is expected to testify that beginning in

2015, Philadelphia would no longer pay her as an election official because she held another city

job. From that point on, Beren became a certified poll watcher, and she installed a close

associate – her granddaughter or another trusted subordinate - to “serve” as the new Judge of

Elections. In her capacity as a “poll watcher,” Beren maintained access to the polling locations

at Seafarer’s Union Hall for Philadelphia’s 39th Ward, 2nd Division, the 39th Ward, 11th Division,

and the 39th Ward, 16th Division. Although election records for the 39th Ward, 2nd Division

frequently identified her granddaughter, or occasionally other associates, serving as Judge of

Elections, according to witnesses, in reality Beren continued to effectively run all three Divisions

located at the Seafarer’s Union Hall from 2015 through at least 2019. Beren also recruited and

installed the other Election Board Officials for the 39th Ward, 2nd Division.

       While Marie Beren effectively ran the polling places for Philadelphia’s 39th Ward, 2nd

Division, the 39th Ward, 11th Division, and the 39th Ward, 16th Division, defendant Myers gave

Beren directions to add votes to candidates supported by him, including candidates for judicial

office whose campaigns actually hired Myers, and other candidates for various federal, state, and

local elective offices preferred by Myers for a variety of reasons.

       Beren is expected to testify that on almost every Election Day, Myers transported her to

the polling station to open up the polls. During the drive to the polling station, Myers would


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advise Beren which candidates he was supporting so that Beren knew which candidates should

be receiving fraudulent votes.

       While the polls were open, Marie Beren would advise actual in-person voters to support

Myers’ candidates and also cast fraudulent votes in support of Myers’ preferred candidates on

behalf of voters she knew would not or did not physically appear at the polls. She would have

the other election officials that she had recruited assist her in this endeavor.

       During Election Day itself, Myers – as he did with Domenick DeMuro in the 39th Ward,

36th Division - would confer with Beren via cellular telephone while she was at the polling

station about the number of votes cast for his preferred candidates. Beren would report to

Myers how many “legit votes,” meaning actual voters, had reported and cast ballots. If actual

voter turnout was high, Beren would add fewer fraudulent votes in support of Myers’ preferred

candidates. From time to time, Myers would instruct Beren to shift her efforts from one of his

preferred candidates to another. Specifically, Myers would instruct Beren “to throw support”

behind another candidate during Election Day if he concluded that his first choice was

comfortably ahead.

       Marie Beren would also repeatedly permit individual voters from the 39th Ward, 2nd

Division to cast ballots on behalf of absent friends and family members who had not appeared at

the polling station in person. In those instances, Beren would use her influence to steer her

friends and neighbors towards casting ballots for their absent family members in support of

candidates supported by Myers.

       Marie Beren and the individuals she recruited to serve as Election Board Officials would

falsify the polling books and the List of Voters and Party Enrollment for the 39th Ward, 2nd


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Division, by recording the names, party affiliation, and order of appearances for voters who had

not physically appeared at the polling station to cast his or her ballot in the election. Beren and

others working the elections would then cast fraudulent ballots purportedly on behalf of these

eligible voters who had not, in fact, appeared in person to cast ballots themselves. Unlike with

DeMuro, Beren and her subordinates took pains to ensure that the number of ballots cast on the

machines was a reflection of the number of voters signed into the polling books and the List of

Voters.

          After the polls closed on Election Day, Marie Beren and her recruits would certify the

Voting Machine results from the 39th Ward, 2nd Division, by attesting to the accuracy of the

paper results receipt placed in the Cartridge-Results Bag with the memory cartridge from each

Voting Machine for delivery to the City Commissioners. Occasionally, the election officials

would leave the certification blank.

          At trial, in addition to Beren’s testimony, the government will produce the poll books and

Lists of Voters and Party Enrollment for the 39th Ward, 2nd Division, the machine Results

Receipts for the voting machines in use at the 39th Ward 2nd Division, toll records for Myers’

cellular telephone showing his contacts with Beren during Election Day, Campaign Finance

Reports (CFRs) for Myers’ client candidates, and the testimony of eyewitnesses, including

eligible, registered voters who were signed into the poll books and who appear on the lists of

voters even though they did not, in fact, cast ballots.

                        Myers’ Intent Captured on Consensual Recording

          The proof at trial will establish beyond a reasonable doubt that Myers acted with the

intent to hide his schemes and obstruct justice and federal law enforcement. In particular, the


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evidence will prove that Myers: a.) instructed DeMuro not to discuss the “ballot stuffing” over

the telephone; b.) advised DeMuro to conceal the receipt of bribes by providing fictitious names

to be listed as the payee on checks drawn on the campaign accounts of defendant Myers’

preferred candidates and unwitting clients by telling DeMuro, “I’m gonna get you a couple

checks there’s no question about that. If you want to give me a - a different name than Domenick

DeMuro that’s your business…;” c.) advised DeMuro that defendant Myers would hand DeMuro

bribe payments in the form of checks after the deadline for the last campaign finance report prior

to the May 2017 primary election because, “you don’t wanna - you don’t wanna be on any

[candidate’s campaign finance] report May 7th when the election is May 16th;” d.) had DeMuro

sign receipts for bribe payments in the form of cash and instructing DeMuro that “if there was

ever a question Dom . . . you know you’d say well I gave the money out Election Day [to get out

the vote];” and, e.) provided a check to DeMuro drawn on the campaign account of defendant

Myers’ client candidate and made payable to DeMuro’s spouse and later falsely characterized on

the unwitting candidate’s campaign finance report as supporting a “get out the vote” effort.

       The very content of the communications and instructions from Myers, a former United

States Congressman tampering with multiple federal elections, shows that he clearly anticipated

that the scheme might draw the attention of federal investigators. The government’s evidence at

trial will establish that he specifically told DeMuro not to discuss the ballot stuffing scheme over

the telephone, obviously concerned that federal law enforcement might be listening in to their

conversations (a well-founded fear). Additionally, the creation of misleading and phony

receipts to paper over and justify the bribe payments in cash, the fictitious payee names for

bribes in the form of checks, the intentional delay of reporting the bribe payments drawn on


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candidates’ campaign accounts on campaign finance reports until after the elections, and the

explicit instructions to attribute the bribe payments “to get out the vote” efforts if and when

DeMuro was confronted about the scheme, all demonstrate concealment and consciousness of

guilt.

III.     POTENTIAL LEGAL ISSUES

         A.     Stipulations

                The government and the defendant have agreed to several stipulations, which

hopefully will streamline the presentation of evidence during the trial. In particular, the parties

have agreed to stipulate as to the authenticity – but not admissibility – of business records, bank

records, public records, and toll records that might be offered into evidence.

         B.     Defendant Myers Cannot Elicit or Present His Own Statements

         At trial, the government will present consensually recorded conversations between

defendant Myers and cooperating witness Domenick DeMuro. The government will also

introduce statements the defendant made to testifying witnesses. The statements of the

defendant are admissible by the government as admissions of a party opponent under F.R.E.

801(d)(2).

         The defendant, however, cannot elicit or admit his own prior statements, because they are

hearsay; if offered by the defendant, they are not admissions of a party opponent. The defendant

cannot present any exculpatory statements he made by playing recordings of the conversations

that were made by DeMuro, by questioning witnesses called by the government on cross-

examination, or by any means other than through his own testimony. See United States v. Kapp,

781 F.2d 1008 (3d Cir. 1986) (affirming district court’s ruling that tape recording of a


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conversation between a codefendant and government informant that defendant considered

exculpatory on the issue of his knowledge of illegality was inadmissible because it was not

offered “against a party” as required by Rule 801(d)(2)). See also United States v. McDaniel,

398 F.3d 540, 545 (6th Cir. 2005) (emphasis in original) (“Rule 802(d)(2) [ ... ] does not extend

to a party’s attempt to introduce his or her own statements through the testimony of other

witnesses” . . . to hold otherwise would allow defendant to do “an end run around the adversarial

process by, in effect, testifying without swearing an oath, facing cross examination, or being

subjected to first hand scrutiny by the jury”).

       In McDaniel, the Sixth Circuit upheld the district court’s decision to preclude defense

counsel from eliciting statements the defendant made to a postal inspector who testified at trial.

Id. Although the inspector testified on direct examination for the government about statements

the defendant made to her, the defendant could not question the inspector about other things the

defendant said to the inspector, because Rule 801(d)(2) does not permit a defendant to introduce

his or her own out-of-court statements. Id. at 544.

       Defendant Myers cannot make an end-run around these hearsay rules by citing the Rule

of Completeness. For example, many of the recordings that the government will present at trial

have been redacted. Portions of the conversations that are unrelated to the subjects discussed in

the portions that will be played have been redacted to make the presentation of the government’s

case more efficient, and not confuse the jury. In those instances, the defendant cannot introduce

the redacted portions of the conversations by citing the Rule of Completeness, as set forth in

Federal Rule of Evidence 106, which provides that “[w]hen a writing or recorded statement or

part thereof is introduced by a party, an adverse party may require the introduction at that time of


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any other part or any other writing or recorded statement which ought in fairness to be

considered contemporaneously with it.” United States v. Hoffecker, 530 F.3d 137, 192 (3d Cir.

2008). In Hoffecker, the Third Circuit upheld, under Rule 801(d)(2), the exclusion of portions

of an audiotape in which the defendant made exculpatory statements, even though the

government had played a portion of the recording in its case-in-chief. The Court found that the

Rule of Completeness did not compel a different result. Id. at 192.

       This principle applies to both recorded conversations as well as witness testimony that

contains statements of the defendants; even if only a portion of the conversation or statement is

played or presented by the government, the defendant may not present his statements that were

not introduced unless he testifies. See United States v. Lentz, 524 F.3d 501, 526 (4th Cir. 2008)

(“Rule 106 does not ... render admissible the evidence which is otherwise inadmissible under the

hearsay rules, [n]or does it require the admission of self serving, exculpatory statements made by

a party which are being sought for admission by that same party”) (internal quotations and

citations omitted); United States v. Mitchell, 502 F.3d 931, 964 (9th Cir. 2007) (defendant was

properly precluded from eliciting, on cross-examination of government agents, exculpatory

statements that he had made during interviews with agents, since those statements were

inadmissible hearsay); United States v. Rivera, 61 F.3d 131, 136 (2d Cir. 1995) (“Rule 106 does

not render admissible evidence that is otherwise inadmissible”); United States v. Mahaffy, 2007

WL 1094153, at *2 (E.D.N.Y. Apr. 10, 2007) (“A court may ... exclude any portion that consists

largely of a defendant’s own self-serving statements, which, as offered by him, are inadmissible

hearsay”) (internal quotations omitted).




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       Similarly, in United States v. Ortega, 203 F.3d 675 (9th Cir. 2000), the court affirmed the

district court's decision precluding the defendant from eliciting his own exculpatory statements

on cross-examination of a law enforcement officer, holding that the defendant’s statements were

inadmissible hearsay. Id. at 682. The court recognized that any other ruling would have

allowed the defendant to put his own statements before the jury without having to take the stand

himself – the precise situation the hearsay rule forbids. Id. at 682. In reaching its decision, the

Ortega court distinguished the defendant’s attempt to elicit his own exculpatory statements from

the government's use of the defendant’s inculpatory statements, noting that only the latter

constitute “admissions by a party opponent and . . . therefore not hearsay,” and noted that the

Rule of Completeness did not apply. Id. at 681-682.

       The Third Circuit in Hoffecker identified a narrowly-drawn exception to the general rule

that the defendant may not present his statements that were not introduced unless he testifies. In

that case, the Third Circuit noted that additional portions of a recording may be played “if it is

necessary to (1) explain the admitted portion, (2) place the admitted portion in context, (3) avoid

misleading the trier of fact, or (4) ensure a fair and impartial understanding.” Hoffecker, 530

F.3d at 192 (citing United States v. Soures, 736 F.2d 87, 91 (3d Cir.1984) (citing United States v.

Marin, 669 F.2d 73, 84 (2d Cir.1982)). The Third Circuit cautioned that “[t]he Rule does not

require introduction of portions of a statement that are neither explanatory of nor relevant to the

passages that have been admitted.” Id. See Marin, 669 F.2d at 84; United States v. Bailey, 322

F. Supp. 3d 661, 675 (D. Md. 2017) (“Neither Rule 106 nor the common-law rule of

completeness is triggered unless some clearly identifiably unfairness would exist without




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allowing the party that would be prejudiced the opportunity to offer information that would

clarify or explain”).

       That an omitted portion of a conversation merely deals with the same subject matter as a

published portion is not enough. In Hoffecker, the Court rejected a Rule 106 claim where the

defendant sought to admit his statements from one conversation in order to explain his statements

during another conversation, where the prior statements were not necessary to avoid misleading

the jury or to ensure a fair and impartial understanding. 530 F.3d at 192. If the defendant seeks

to introduce any of his prior statements under Rule 106, Myers must specify the particular

passages that he believes are necessary for purposes of Rule 106 completeness and, for each

passage, set forth why the admission of the prior statements are necessary to avoid misleading

the jury or to ensure a fair and impartial understanding. United States v. Price, 516 F.3d 597,

604-05 (7th Cir. 2008) (As the party seeking to admit the additional evidence, [the defendant]

must establish both that the evidence is relevant to the issues in the case and that it clarifies or

explains the portion offered by the Government).

       C.      Rule 608(b) Precludes the Defendant from Attacking the Character of
               Government Witnesses in Matters Unrelated to Veracity.

       Should Myers attempt to pursue cross-examination that is designed to unfairly attack the

character of one or more of the government’s trial witnesses in matters that are not related to

veracity or otherwise attempt to introduce extrinsic evidence designed to accomplish those

objectives, the government will interpose appropriate objections and will ask the Court to

preclude such efforts based on the authorities set forth below.

       Federal Rule of Evidence 608(b) provides:



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       Specific instances of the conduct of a witness, for the purpose of attacking or supporting
       his credibility, other than conviction of crime as provided in rule 609, may not be proved
       by extrinsic evidence. They may, however, in the discretion of the court, if probative of
       truthfulness or untruthfulness, be inquired into on cross examination of the witness (1)
       concerning his character for truthfulness or untruthfulness. . . .

       Weinstein states: “Rule 608(b) is intended to be restrictive. . . . The rule does not

authorize inquiry on cross-examination into instances of conduct that do not actually indicate a

lack of truthfulness.” Jack B. Weinstein & Margaret A. Berger, Weinstein’s Federal Evidence §

608.22[2][c] [i] (2d ed. 1997). See also United States v. Davis, 183 F.3d 231, 257, amended, 197

F.3d 662 (3d Cir. 1999) (holding that cross-examination of witness on perpetration of a prior

assault was governed by Rule 608(b), not Rule 404(b), and was improper absent some

explanation why “it was probative of credibility rather than of a tendency to do bad acts”).

Further, the Advisory Committee note to Rule 608(b) comments:

       Particular instances of conduct . . . may be inquired into on cross examination of the
       principal witness himself . . . . Effective cross examination demands that some allowance
       be made for going into matters of this kind, but the possibilities of abuse are substantial.
       Consequently safeguards are erected in the form of specific requirements that the
       instances inquired into be probative of truthfulness or its opposite . . . . Also, the
       overriding protection of Rule 403 requires that probative value not be outweighed by
       danger of unfair prejudice, confusion of issues, or misleading the jury . . . .

       “From the foregoing, it is evident that the type of inquiry into specific conduct of the

witness for impeachment purposes is quite limited.” United States v. Bocra, 623 F.2d, 281, 288

(3d Cir. 1980). “The classic example of a permissible inquiry would be an incident in which the

witness had lied.” Id. Further, while the Sixth Amendment guarantees a defendant the right to

cross-examine witnesses, it allows a trial judge to place reasonable limits on the cross-

examination. United States v. Mussare, 405 F.3d 161, 169 (3d Cir. 2005) (a district court retains

“‘wide latitude insofar as the Confrontation Clause is concerned to impose reasonable limits on


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such cross examination based on concerns about, among other things, harassment, prejudice,

confusion of the issues, the witness’ safety, or interrogation that is repetitive or only marginally

relevant.’”) (quoting Delaware v. Van Arsdall, 475 U.S. 673, 678-79 (1986)). “The court

balances a question’s relevance to honesty and veracity with its prejudicial impact.” United

States v. Dennis, 625 F.2d 782, 798 (8th Cir. 1980).

       In Bocra, the Third Circuit considered the defendant’s claim that the defendant should be

permitted to cross-examine an IRS agent regarding the agent’s involvement in other bribery

cases in order to attempt to show that the agent was a solicitor of bribes. The defendant claimed

that he was entrapped by the agent, and needed to introduce evidence of the IRS agent’s

involvement in other bribery cases to show a pattern of solicitation by the agent, which would

cast doubt on the defendant’s predisposition to commit bribery. Id. at 285. The district court

banned any such cross-examination because it determined that the marginal probative value of

the testimony was outweighed by the risks of jury confusion. Id. at 287-88. On appeal, the Third

Circuit determined that any cross-examination of the agent with respect to his involvement with

other taxpayer bribes was “only marginally probative of truthfulness” and that the “probative

value of the cross-examination was outweighed by the risk of confusing the jury by collateral

exploration.” Id. at 288.

       In United States v. Williams, 464 F.3d 443 (3d Cir. 2006), a narcotics and firearms

prosecution, the Third Circuit found that the district court did not abuse its discretion in barring

cross-examination regarding testimony by the government’s central witness that he had never

committed murder. Defense counsel argued that he had information that this assertion was false.

Id. at 448. Specifically, a confidential informant had told a federal agent “that the informant had


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heard from another person that [the central witness] had once stabbed an individual to death in

Philadelphia.” Id. However, the agent found no record of the murder, nor could he find the

person who provided this information to the confidential informant. Id. Based on the statement of

the confidential informant, defense counsel wished to impeach the central witness on cross-

examination. Id. The District Court denied the defense request under Federal Rules of Evidence

608(b) and 403. Id. The Third Circuit affirmed and noted that, even if the evidence of the murder

was strong, “it was not clearly relevant to [the central witness’s] truthfulness as a witness and

had a strong potential to prejudice the jury.” Id.

        As in Bocra and Williams, the defendant should not be permitted to unfairly attack the

character of witnesses at trial in matters that are unrelated to veracity, and may not present

extrinsic evidence unrelated to veracity that is designed to attempt to attack the character of the

witness. Other courts have quite properly limited or excluded altogether improper cross-

examinations of witnesses designed to confuse the jury and cause unfair prejudice. See, e.g.,

United States v. Nelson, 39 F.3d 705, 709 (7th Cir. 1994) (district court properly excluded cross-

examination concerning other robberies that were supposedly committed by two government

witnesses); Ad-Vantage Telephone Directory Consultants, Inc. v. GTE Directories Corp., 37

F.3d 1460, 1464-65 (11th Cir. 1994) (“Anton’s borrowing from his clients, while ethically

questionable, is likewise irrelevant to his truthfulness as an expert. To infer untruthfulness from

any unethical act paves the way to the exception which will swallow the Rule.”) (internal citation

and quotations omitted); United States v. Townsend, 31 F.3d 262, 267-69 (5th Cir. 1994)

(district court properly restricted defendant’s cross-examination of various government witnesses

regarding falsification of corporate records and bad business practices, finding that it “would


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only serve to mislead and confuse the jury, and prolong the trial”); Telum, Inc. v. E.F. Hutton

Credit Corp., 859 F.2d 835, 839 (10th Cir. 1988) (probative value of evidence showing that one

of defendant’s agents embezzled $40,000 in connection with plaintiff’s lease was greatly

outweighed by risk of unfair prejudice); United States v. Dennis, 625 F.2d 782, 798 (8th Cir.

1980) (proper to exclude defendant from cross-examining victim-witness on prior arrest for tax

problems because not related to veracity); United States v. Hill, 550 F. Supp. 983, 989 (E.D. Pa.

1982) (in prosecution for distributing heroin, it was proper to refuse to allow inquiry into charges

of misconduct against DEA agent who directed investigation where challenged conduct was

unrelated to investigation, agent was cleared of wrongdoing, and nature of charges was not

related to agent’s character for veracity).

          “Trials are about charges in the indictment, not the character of the witnesses. Thus,

although Federal Rule of Evidence 608(a) permits a party to introduce evidence regarding a

witness’s reputation for truthfulness, Rule 608(b) does not permit specific instances of a

witness’s conduct to be proved by extrinsic evidence.” United States v. Miller, 91 F.3d 1160,

1163 (8th Cir. 1996) (internal quotations and citations omitted). See also United States v.

McNeill, 887 F.2d 448, 453 (3d Cir. 1989) (“This court has construed Rule 608(b) as requiring

the exclusion of extrinsic impeachment evidence concerning a witness’ prior instances of

conduct.”). 8



8 Moreover, Federal Rule of Evidence 611(a)(3) prohibits the harassment and undue embarrassment of witnesses.
See also McCormick, Evidence § 41 (7th ed. 2013) (“Some of the factors that should inform the exercise of the
discretion [under Rule 608(b)] are: (1) whether the witness’s testimony is crucial or unimportant, (2) the relevancy
of the act of misconduct to truthfulness, (3) the nearness or remoteness of the misconduct to the time of trial, (4)
whether the matter inquired into is likely to lead to time-consuming, distracting explanations on cross-examination
or re-examination, and (5) whether there will be unfair humiliation of the witness and undue prejudice to the party
who called the witness.”).

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        Accordingly, Myers should not be permitted to attack the character of the government’s

witnesses on matters that are not related to veracity.

        D.      Prohibition of Using of Agents’ Reports to Cross-Examine Witnesses.

         The government has provided Myers with reports of witness interviews by government

agents. To the extent that the agents who prepared the reports testify, those reports, if materially

inconsistent, provide an appropriate basis for impeachment of the agents. However, under the

Federal Rules of Evidence, those reports may not be used to impeach the subject of the

underlying interview unless the subject has somehow adopted those reports. United States v.

Almonte, 956 F.2d 27, 29 (2d Cir. 1992).

        In Almonte, a DEA agent testified at trial about the post-arrest statements that he had

obtained from two defendants. Id. at 28. One defendant sought to cross-examine the agent

with interview notes taken by an Assistant U.S. Attorney who had interviewed the agent. Id. at

28-29. The district court rejected the effort and the Second Circuit affirmed, holding that the

AUSA’s notes were not the agent’s statement, but merely a “third party’s characterization” of the

agent’s statement, and therefore irrelevant to impeachment and consequently inadmissible:

        We have held, however, that a “third party’s characterization” of a witness’s statement
        does not constitute a prior statement of that witness unless the witness has subscribed to
        that characterization. . . . Thus, in the absence of endorsement by the witness, a third
        party’s notes of a witness’s statement may not be admitted as a prior inconsistent
        statement unless they are a verbatim transcript of the witness’s own words. The problem,
        in essence, is one of relevancy. If a third party’s notes reflect only that note taker’s
        summary characterization of a witness’s prior statement, then the notes are irrelevant as
        an impeaching prior inconsistent statement, and thus inadmissible.

Id. at 29 (citation omitted).

        As a matter of evidence, the burden “of proving that notes reflect the witness’s own

words rather than the note taker’s characterization falls on the party seeking to introduce the

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notes.” Id. Thus, a party seeking to use a report to impeach bears the burden of proving a

rational basis for concluding that the report either was adopted by the witness or represents the

verbatim transcript of the witness’s statement. See id. at 30. In the absence of such proof, cross-

examination from such reports or notes should not be permitted. See also United States v.

Barile, 286 F.3d 749, 757-58 (4th Cir. 2002); United States v. Adames, 56 F.3d 737, 744-45 (7th

Cir. 1995); United States v. Saget, 991 F.2d 702, 710 (11th Cir. 1993).9

         E.       Recalling Case Agents to the Witness Stand.

         During the course of trial, the government may recall agents and investigators to the

witness stand to address a number of different subjects, given that the charges at issue involve

five separate schemes. While it may be possible for the agents and investigators to testify about

several of these topics in a single appearance on the witness stand, such a constraint may not

promote an efficient or clear presentation of the case. Thus, the government may recall agents

and investigators so that their testimony can be provided in parts, either by subject matter, or

chronologically, as required for a clear and concise presentation of the case.

         This procedure has been endorsed by numerous courts. See, e.g., United States v.

Edelin, 128 F. Supp. 2d 23, 47 (D.D.C. 2001) (collecting cases that have approved of the

practice; noting that Federal Rule of Evidence 611(a) authorizes the Court to control the order of

interrogation and the presentation of evidence); United States v. Coleman, 805 F.2d 474, 482 (3d

Cir. 1986) (“The district court has discretion to allow the recall of a witness, even if the witness




9 Given that the agent reports in this case were not adopted by the witnesses and are not verbatim transcripts, they
are not Jencks statements that should be produced under 18 U.S.C. § 3500. Nevertheless, the government in this
district has long acted as a matter of grace to produce the reports pretrial to aid a defendant’s preparation of the case.
That does not change the fact that the statements may not be used to impeach.

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has consulted with the prosecutor in the interim.”); United States v. Butera, 677 F.2d 1376, 1381

(11th Cir. 1982) (district court had discretion under Rule 611(a) to permit case agent to take the

stand on four separate occasions to describe events in chronological order); United States v.

Jackson, 549 F.2d 517, 528 (8th Cir. 1977) (praising the district court’s exercise of its discretion

as lending “a praiseworthy degree of order to this complicated trial”); United States v. Rodgers,

2014 WL 3735585, at *2 (W.D. Pa. July 28, 2014) (permitting recall of certain law enforcement

witnesses so the government may present its evidence chronologically); United States v. Dimora,

843 F. Supp. 2d 799, 822-23 (N.D. Ohio 2012) (approving the recalling of a government witness

because it will provide a clear and orderly trial and aid the jury’s understanding of the evidence);

United States v. Bacon, 2012 WL 5381415, at *1 (W.D. Pa. Oct. 31, 2012) (permitting recall of

police detective so the government may present its evidence chronologically); United States v.

Johnson, 434 F. Supp. 2d 301, 305-06 (D. Del. 2006) (recall of a DEA chemist was appropriate).

Given the five different schemes charged in the Superseding Indictment, the government submits

that a similar procedure, if necessary, should be permitted here.

       F.      Evidence of Plea Agreements, Immunity, and Dishonesty

       The government may attempt to offer evidence of its witnesses’ dishonest conduct, guilty

pleas, plea agreements, and other forms of immunity during the direct examination of some of its

witnesses. An en banc panel of the Third Circuit has recognized that such impeachment

evidence properly can be offered during the government’s direct examination of its witnesses.

In United States v. Universal Rehabilitation Services (PA), Inc., 205 F.3d 657 (3d Cir. 2000), the

Court observed that there were at least three reasons to permit the government to adduce

evidence of a testifying witness’s guilty plea or plea agreement, to include allowing the jury


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accurately to assess the credibility of the witness and to explain how the witness has first-hand

knowledge concerning the events about which the witness was testifying. 205 F.3d at 665-67.

The Third Circuit also held that the government could adduce such evidence even in the absence

of an affirmative challenge to witness credibility because in every case jurors are instructed that

they must determine the credibility of the witnesses who testify. Id. at 666. See United States v.

Montani, 204 F.3d 761, 765 (7th Cir. 2000) (“The well-settled rule in this Circuit allows the

government to take the sting out of a defendant’s cross-examination by introducing evidence of a

co-defendant’s plea agreement as part of its case in chief.”). This reasoning applies to grants of

immunity, as well. See Montani, 204 F.3d at 765-66 (“introducing evidence of a witness’s guilty

plea or immunity deal serves the ‘truth-seeking’ function of the trial by presenting all relevant

aspects of the witness’s testimony at one time”).

        The government recognizes, however, that the introduction of such evidence only may

be for a proper purpose. In this regard, for instance, the government may not argue that a

witness’s guilty plea, or that the grant of immunity to a witness, is substantive proof of the

defendant’s guilt. 205 F.3d at 668. The Third Circuit has suggested a cautionary instruction to

the jury, which, it has held, insulates the defendant from any prejudicial effect. Id. at 668. The

Third Circuit has observed that the jury in such cases should be instructed that it may not

consider the guilty plea and/or plea agreement as evidence that the defendant is guilty of the

offenses with which he is charged, but rather that such evidence is offered only to allow the jury,

for instance, to assess the witness’s credibility. Id. See also Montani, 204 F.3d at 767

(suggesting similar cautionary instruction). The Court can employ a similar instruction here.

See, e.g., Third Circuit Model Instruction 4.19.


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       G.      Arguments for Jury Nullification

       This case is about defendant Myers’ guilt or innocence of the charges set forth in the

Superseding Indictment, not about anyone’s political motivation or party affiliation.

Accordingly, Myers should be precluded from presenting evidence or arguing to the jury that the

jury should reach a verdict based on any consideration other than the evidence presented at trial,

including any bias or prejudice associated with local or national politics.

       Jury nullification is “a jury’s knowing and deliberate rejection of the evidence or refusal

to apply the law either because the jury wants to send a message about some social issue…or

because the result dictated by law is contrary to the jury’s sense of justice, morality, or fairness.”

United States v. Boone, 458 F.3d 321, 328 n.2 (3d Cir. 2006) (quoting Black’s Law Dictionary

875 (8th ed. 2004)). In Boone, the Third Circuit explained that a juror wo “commits jury

nullification violates the sworn jury oath and prevents the jury from fulfilling its constitutional

role.” Id. at 326. The federal courts “categorically reject the idea that, in a society committed to

the rule of law, jury nullification is desirable or that courts may permit it to occur when it is

within their authority to prevent.” United States v. Carr, 424 F.3d 213, 220 (2d Cir. 2005)

(quoting United States v. Thomas, 116 F.3d 606, 614 (2d Cir. 1997)).

       Introducing evidence in favor of jury nullification also violates Federal Rules of Evidence

401 and 402. Rule 401 defines “relevance” as “any tendency to make the existence of any fact

that is of consequence to the determination of the action more probable or less probable.” Rule

402 provides that irrelevant evidence is inadmissible. Evidence in support of jury nullification

has no tendency to make the existence of any fact related to guilt or innocence more or less

probable, and therefore it is not admissible.


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        Accordingly, the trial court may preclude defense attorneys from attempting to present

evidence or arguments in favor of jury nullification. United States v. Moss, 297 Fed. Appx. 839,

841 (11th Cir. 2008); United States v. Rosenthal, 454 F.3d 943, 946-47 (9th Cir. 2006); United

States v. Perez, 86 F.3d 735, 736 (7th Cir. 1996); United States v. Sepulveda, 15 F.3d 1161, 1190

(1st Cir. 1993).

        In this case, Myers may attempt to argue to the jury that he should be acquitted for

reasons other than the evidence presented at trial of guilt or innocence. Any appeal to the

political affiliations or party loyalties of the jurors should be precluded. Any unsupported

allegations of selective prosecution based upon Myers’ political affiliations or suggestions that

the prosecution was politically motivated should also be precluded.

                                                     Respectfully submitted,

                                                     JENNIFER ARBITTIER WILLIAMS
                                                     United States Attorney

                                              By:

                                                     /s/ Eric L. Gibson
                                                     ERIC L. GIBSON
                                                     RICHARD P. BARRETT
                                                     Assistant United States Attorneys
Dated: May 23, 2022




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                               CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the Government’s Trial Memorandum has

been served upon all counsel of record electronically and via ECF.



                                            s/Eric L. Gibson
                                            ERIC L. GIBSON
                                            Assistant United States Attorney


Dated: May 23, 2022




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